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                              IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF UTAH

    MIDWEST FLOOR COVERINGS, INC., a
    Utah corporation,
                                                                    ORDER TO SHOW CAUSE
                Plaintiff,

          v.
                                                                   Case No. 2:18-cv-465-RJS-DBP
    DORADO SOAPSTONE LLC, a Colorado
    limited liability company and STEVEN                             Chief Judge Robert J. Shelby
    CHAVEZ, an individual,
                                                                   Magistrate Judge Dustin B. Pead
                Defendants.

               Plaintiff, Midwest Floor Coverings, Inc. (Midwest), initiated this action on June 8, 2018.1

Midwest asserts this court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332;2

however, it has failed to allege sufficiently the citizenship of Defendant Dorado Soapstone LLC

(Dorado). For the reasons stated below, Midwest is ORDERED to show cause why the

Complaint should not be dismissed for lack of subject-matter jurisdiction.3

               This court has a continuing obligation to ensure it maintains subject-matter jurisdiction

throughout the dispute.4 For this court to exercise subject-matter jurisdiction under 28 U.S.C. §

1332, there must be complete diversity: “no plaintiff may be a citizen of the same state as any

defendant.”5 The parties’ citizenship is determined from “the facts as they existed at the time of


1
    Dkt. 2.
2
    Id. ¶ 4.
3
 As the party invoking federal jurisdiction, Midwest has the burden of establishing subject matter jurisdiction.
Panicker v. State Dept. Agric., 498 F. App’x 755, 756 (10th Cir. 2012).
4
  See 1mage Software, Inc. v. Reynolds & Reynolds Co., 459 F.3d 1044, 1048 (10th Cir. 2006) (“Federal courts have
an independent obligation to determine whether subject-matter jurisdiction exists, even in the absence of a challenge
from any party, and thus a court may sua sponte raise the question of whether there is subject matter jurisdiction at
any stage in the litigation.”) (internal quotations and citation omitted).
5
    Grynberg v. Kinder Morgan Energy Partners, L.P., 805 F.3d 901, 905 (10th Cir. 2015).

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filing.”6 A corporation is a citizen of the state in which it is incorporated and of the state in

which it has its principal place of business.7 The citizenship of unincorporated entities, however,

such as a limited liability company, is the citizenship of all of its members.8 The members of

unincorporated entities are the “owners” or “the several persons composing such an

association.”9

            The Complaint does not sufficiently allege Dorado’s citizenship. Midwest alleges

Dorado is a limited liability company with its principal place of business in Colorado, but

Midwest fails to allege the citizenship of Dorado’s members.10 Because Dorado is a limited

liability company, its citizenship is based on the citizenship of its members.11 Failure to allege

the citizenship of each of Dorado’s members is a failure to allege the citizenship of the

unincorporated entity.12

            Midwest is therefore ordered to show cause, within seven (7) days, why the court should

not dismiss this case for lack of subject-matter jurisdiction.

            SO ORDERED this 12th day of September 2019.

                                              BY THE COURT:


                                                       ________________________________________
                                                       ROBERT J. SHELBY
                                                       United States District Judge




6
    Id. (citation omitted).
7
    See 28 U.S.C. § 1332(c)(1) (2018); Hertz Corp. v. Friend, 559 U.S. 77, 77 (2010).
8
    Grynberg, 805 F.3d at 905.
9
    Carden v. Arkoma Assoc., 494 U.S. 185, 195–96 (1990) (citations omitted).
10
     Dkt. 2 ¶ 2.
11
     Grynberg, 805 F.3d at 905–06.
12
     Id.

                                                               2
